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 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
 2 LAW OFFICES OF JAMES R. GREINER
   555 UNIVERSITY AVENUE, SUITE 290
 3 SACRAMENTO, CALIFORNIA 95825
   TELEPHONE:(916) 649-2006
 4 FAX: (916) 920-7951
 5   ATTORNEY FOR DEFENDANT
     LUCIO HERNANDEZ
 6
 7               IN THE UNITED STATES DISTRICT COURT FOR THE
 8                      EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,      )               CR.S-07-268-FCD
10                                  )
          PLAINTIFF,                )               STIPULATION AND ORDER
11                                  )               CONTINUING JUDGMENT AND
          v.                        )               SENTENCING
12                                  )
     LUCIO HERNANDEZ,               )
13                                  )
                                    )
14        DEFENDANT.                )
     _______________________________)
15
16         Plaintiff United States of America, by its counsel, Assistant United States
17   Attorney, Mr. Heiko Coppola and the defendant, Lucio Hernandez, represented by his
18   attorney, Mr. James R. Greiner, hereby stipulate and agree that the following new
19   Judgment and Sentencing date can be adopted by the Court:
20
21         Judgment and Sentence                    May 4, 2009 at 10:00 a.m.
22
           The Judgment and Sentencing date was cleared with the Court’s courtroom
23
     deputy, Ms. Michele Krueger, and the date is available with the Court. Probation was
24
     also contacted and the date is agreeable with Probation.
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28                                              1
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 1                                Respectfully submitted,
                                  LAWRENCE G. BROWN
 2                                ACTING UNITED STATES ATTORNEY
 3                                /s/ Heiko Coppola by telephone authorization
     DATED: 4-14-09                      _____________________________
 4                                HEIKO COPPOLA
                                  Assistant United States Attorney
 5                                Attorney for the Plaintiff
 6
                                  /s/ James R. Greiner
 7   DATED: 4-14-09               _____________________________________
                                  JAMES R. GREINER
 8                                Attorney for defendant Lucio Hernandez
 9
10                                      ORDER
11
          FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
12
13
14   DATED: April 14, 2009.
15
                                          _______________________________________
16                                        FRANK C. DAMRELL, JR.
                                          UNITED STATES DISTRICT JUDGE
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